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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )                8:17CR286
                                            )
      vs.                                   )
                                            )
BRIJIDO BELTRAN-RODELO,                     )                  ORDER
JOHN F. HALLER, III,                        )
ANA KARLA RODRIGUEZ-TORREZ,                 )

                    Defendants.


      This matter is before the court on the defendant Haller’s unopposed Motion to
Continue Trial [257]. Counsel needs additional time for resolution of plea negotiations.
For good cause shown,

      IT IS ORDERED that the Motion to Continue Trial [257] is granted, as follows:

      1. The jury trial, for all defendants, now set for October 22, 2018 2018 is
         continued to December 4, 2018.

      2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
         justice will be served by granting this continuance and outweigh the interests
         of the public and the defendant in a speedy trial. Any additional time arising as
         a result of the granting of this motion, that is, the time between today’s date
         and December 4, 2018, shall be deemed excludable time in any computation
         of time under the requirement of the Speedy Trial Act. Failure to grant a
         continuance would deny counsel the reasonable time necessary for effective
         preparation, taking into account the exercise of due diligence. 18 U.S.C. §
         3161(h)(7)(A) & (B)(iv).

      DATED: September 12, 2018.

                                                BY THE COURT:


                                                s/ Michael D. Nelson
                                                United States Magistrate Judge
